Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18493   Page 1 of 77
                                                                              1



    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION
    3
    4     UNITED STATES OF AMERICA,
    5                      Government,
                                                  HONORABLE GEORGE CARAM STEEH
    6           v.
                                                  No. 15-20652
    7     D-3 EUGENE FISHER,
          D-4 COREY BAILEY,
    8     D-6 ROBERT BROWN,
          D-10 DEVON PATTERSON,
    9     D-13 ARLANDIS SHY,
          D-19 KEITHON PORTER,
   10
                         Defendants.
   11     _____________________________/
   12                               MOTION HEARING
   13                          Thursday, June 14, 2018
   14                                  -    -    -
   15     APPEARANCES:
   16     For the Government:                   JULIE FINOCCHIARO, ESQ.
                                                JUSTIN WECHSLER, ESQ.
   17                                           WILLIAM SLOAN, ESQ.
                                                MARK BILKOVIC,ESQ.
   18                                           Assistant U.S. Attorneys
   19
          For the Defendants:                   HENRY M. SCHARG, ESQ.
   20                                           On behalf of Eugene Fisher
   21                                           CRAIG DALY, ESQ.
                                                On behalf of Corey Bailey
   22
                                                JAMES FEINBERG, ESQ.
   23                                           On behalf of Robert Brown
   24                                           MARK MAGIDSON, ESQ.
                                                On behalf of Arlandis Shy
   25
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18494   Page 2 of 77
                                                                              2



    1                                           STEVEN SCHARG, ESQ.
                                                On behalf of Keithon Porter
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    3
                                       -    -    -
    4
    5                To Obtain Certified Transcript, Contact:
                 Ronald A. DiBartolomeo, Official Court Reporter
    6                 Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard, Room 1067
    7                        Detroit, Michigan 48226
                                   (313) 962-1234
    8
                 Proceedings recorded by mechanical stenography.
    9         Transcript produced by computer-aided transcription.
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Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18495   Page 3 of 77
                                                                               3



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                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18496   Page 4 of 77
                                                                               4



    1                                         Detroit, Michigan
    2                                         Thursday, June 14, 2018
    3
    4                                   -     -     -
    5                      THE CLERK:       Case Number 15-2O652, United
    6       States versus Billy Arnold, et al.
    7                      THE COURT:       Good morning.
    8                      MR. DALY:    Good morning, Judge.
    9                      THE COURT:       Okay.    We have several matters to
   10       address today.     Sorry for the cramp quarters.
   11                The first I think will be Mr. Fisher's motion to
   12       sever.   Mr. Scharg?
   13                      MR. H. SCHARG:         Yes, your Honor.   Your Honor,
   14       Henry Scharg on behalf of Mr. Eugene Fisher.
   15                We did file a motion to sever.         The government has
   16       filed a response, and we filed a reply brief yesterday
   17       morning.    I assume the Court --
   18                      THE COURT:       I've seen it.
   19                      MR. H. SCHARG:         -- seen everything.    In terms
   20       of -- basically it's two arguments.          The government says
   21       this is an untimely motion.           A motion to sever is never
   22       untimely.    It evolves around the circumstances of the
   23       trial, the dynamics of the trial.           To say that we were
   24       untimely, and that it should have been filed earlier, I
   25       also pulled out the motion filed by Mr. Swor on behalf of


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18497   Page 5 of 77
                                                                               5



    1       Mr. Robinson.     That was filed May 14th.       It was not
    2       opposed by the government.       They never raised the
    3       timeliness issue.     For them to come in and say that it
    4       wasn't filed on March 1st is very much a hollow issue
    5       because you have to be consistent in raising opposition,
    6       and in fact, when it comes to severance motions -- I mean,
    7       if you file early, the Court will say, let's wait and see
    8       what happens and how this plays out.
    9                You can file it way before trial.         You can file it
   10       right before trial.      You can file it during trial.        It
   11       depends on the circumstances of the case, and I did raise
   12       that motion periodically during this case.          Every time --
   13       even before Mr. Swor started raising it when we were
   14       getting the groups together, we raised the issue that we
   15       did not want to be with this group, the death eligible
   16       individuals.    When Mr. Swor raised the issue, we did so
   17       again, and even as late as several weeks ago, the day that
   18       Mr. Graveline gave notice and we had conference in
   19       chambers, I brought it up again at that point in time, and
   20       it's something that I have consistently raised as an
   21       issue.
   22                The only problem is that it has become more
   23       prevalent as an issue here at this point in time.            After
   24       the jury selection process where I saw that the government
   25       has strategically attempted to use Mr. Fisher -- use to


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18498   Page 6 of 77
                                                                              6



    1       try to connect him to the other co-defendants in this
    2       case, constantly using the words "they" and "defense" when
    3       clearly that is in violation of the instructions that the
    4       Court is going to give the jury; that each -- that each
    5       defendant should be judged separately, that guilt or
    6       innocence is personal and individual, and the instruction
    7       reads on, it is your duty to separately consider the
    8       evidence against each defendant on each charge and return
    9       separate verdicts.
   10                Based upon what happened from both sides of the
   11       table, both from the government and the defense, people
   12       were trying to treat my client as part of the defense, as
   13       part of the group at the table, and not to judge him
   14       separately.    It became more obvious during the last
   15       several days of jury selection that my client would not be
   16       able to get a fair trial.
   17                Ironically, he is Number 3 or the top individual
   18       on this indictment when, in fact, he is the least
   19       culpable.    The only reason he's Number 3 is because
   20       originally way back when, the original charges were just
   21       for felon in possession, and for that reason he was
   22       charged with Mr. Arnold and Mr. Arthur in terms of the
   23       traffic stop of Mr. Arnold and Mr. Arthur back in
   24       September of 2015.     He was high on that list, but, in
   25       fact, he is the least culpable and not involved in any


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18499   Page 7 of 77
                                                                              7



    1       murders, robberies, attempted murders, et cetera, et
    2       cetera, and it's clear that is he is being grouped in here
    3       by the government because the government has suggested to
    4       the Court the groupings, it's strictly for spillover
    5       effect.
    6                 If, in fact, that you were going to sever him and
    7       he would have to have a separate trial from everyone else,
    8       you know, have a separate trial himself, I think there
    9       would be at least a more valid argument by the government.
   10       The fact is there is a number of other defendants that are
   11       more in line with the drug offenses, the nonviolent
   12       offenses, with the weapon offenses that Mr. Fisher is
   13       charged with, and it would be more in line and consistent
   14       with the charges -- in the offenses to group Mr. Fisher in
   15       with a later -- with a later group of defendants, and we
   16       know that there will be at least one or two other trials
   17       that will follow and are subsequent to this one.
   18                 Finally -- finally, there has been a lot of -- as
   19       I said in my reply brief, there has been a lot of -- we
   20       are concerned about the vocal and disruptive nature of
   21       several of the co-defendants in this case.          That concerned
   22       us at the pretrial stage as Mr. Fisher and I sat at the
   23       table while other co-defendants were in the box.            Some of
   24       the co-defendants were vocal and were disruptive, and we
   25       were concerned at that time, but we also thought that the


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18500   Page 8 of 77
                                                                              8



    1       situation had been resolved.       It has not.     Even as late as
    2       last week, we saw certain types of behavior from the
    3       defendants -- defendants, each defendant, from that table
    4       that continued to concern us; that the -- not only had
    5       there been vocal and disruption during the pretrial, but
    6       the disruption and disrespect for the Court was not only
    7       diminishing, but getting greater, and it's more of a
    8       concern to Mr. Fisher's right to a fair trial.
    9                For all -- and one other thing.         I just want to
   10       make clear, there's three substantive counts regarding the
   11       May 10th non-fatal shooting on State Fair and Hoover.
   12       Those are Counts 24, 25 and 26 I believe, and the argument
   13       is -- 25, 26 and 27, and the argument is somewhat being
   14       made that well, it's just not the text messages and the
   15       postings which are really the overt acts in the RICO
   16       conspiracy that Mr. Fisher is being charged with, but we
   17       have these substantive acts, vicar acts of attempted
   18       murder, assault with a firearm in furtherance and use of a
   19       firearm.    It sounds real serious.
   20                The evidence regarding those three counts are that
   21       Mr. Arnold was in the area of the Lamont house, in that
   22       sector, which is, you know, a several mile sector; that he
   23       was in that area after the -- after the State Fair
   24       shooting.    There's nothing else to tie -- there's nothing
   25       to tie Mr. Arnold into -- into Mr. Fisher's house.


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18501   Page 9 of 77
                                                                              9



    1       There's nothing to tie Mr. Fisher into this.          The only
    2       evidence regarding these three vicar counts is that at
    3       some point in time after the shooting, Mr. Arnold's phone
    4       bounced off a cell tower closest to the Lamont address,
    5       which they say was the stash house.          That's the only
    6       evidence.    It is the thinnest of thin evidence, and quite
    7       frankly, I'm pretty confident that won't survive a Rule 29
    8       motion at the end of the case, but it will linger on
    9       throughout the case.
   10                And in fact, you may ask why, why was Mr. Fisher
   11       charged with those offenses, if, in fact, the only
   12       evidence was that the cell phone bounced off that cell
   13       tower that day.     And the reason is because Agent Ruiz
   14       testified before a grand jury that on May 10th, the phone
   15       call was made from Eugene Fisher's house on Lamont, which
   16       as you recall from the government's expert on cell tower
   17       analysis cannot be determined.
   18                It is our position that the only reason Mr. Fisher
   19       is charged with those counts is because Agent Ruiz who, as
   20       far as from my review, whose reputation, credibility and
   21       truthfulness maybe legendary, gave false testimony before
   22       a grand jury; that the -- that the -- that Billy Arnold
   23       made these phone calls from Mr. Fisher's house on Lamont
   24       after the shooting, which we know based upon the prior
   25       testimony, it's impossible to say that.


                        15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18502   Page 10 of
                                      77
                                                                            10



   1                 The only thing the cell tower expert could say was
   2       that when a phone -- a cell phone hits a tower, you don't
   3       know who's making the call, and you don't know the direct
   4       area -- you don't know where the call is being made from,
   5       but it's in the vicinity of the sector or the slice so it
   6       would probably was in that area, but nothing more.
   7                 For all of the reasons, we are asking this Court
   8       to sever Mr. Fisher from this trial group for the reason
   9       that there is a problem regarding fundamental fairness and
  10       his ability to get a fair trial being grouped with the
  11       present defendants and the offenses for which they are
  12       charged.
  13                      THE COURT:    All right.       Thank you, Mr.
  14       Scharg.
  15                 Mr. Bilkovic?
  16                      MR. BILKOVIC:     Thank you, your Honor.
  17                 The first thing that I want to deal with is the
  18       comments that Mr. Scharg talked about, and the statement
  19       that he put in his reply brief where he indicates that it
  20       was not anticipated that this disrespectful banter,
  21       disruptive behavior and disrespect and lack of courtroom
  22       etiquette would continue as the trial began, but it
  23       appears there is not an end in sight.
  24                 Frankly, I don't know what he is talking about.             I
  25       sat through three days of jury selection.           I didn't see


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18503   Page 11 of
                                      77
                                                                           11



   1       it.   None of the other government attorneys saw it.           The
   2       Court at no time stopped proceedings because the Court was
   3       concerned about anything occurring.
   4                 So frankly, I don't know what he's talking about,
   5       but I certainly think if there is anything like that, the
   6       Court will make sure it polices that to make sure that
   7       behavior does not occur.
   8                 Moving onto his motion to sever where he is
   9       telling you that his client is the least culpable in this
  10       case, that's absolutely not true, notwithstanding the fact
  11       that a defendant is not entitled to severance because the
  12       proof is greater against a co-defendant.          His client is
  13       charged with one of the attempted murders in aid of
  14       racketeering, and he tells you about a couple of facts,
  15       but he doesn't tell you about all the facts.
  16                 You look at Devon Patterson.        He's charged with
  17       Counts 1 and 32, and that's it.        Look at Mr. Fisher.       He's
  18       charged with Counts 1 and 32.       He's charged with Counts
  19       25, 26, 27, 33.
  20                 The day of the Mother's Day shooting, there was a
  21       call between Billy Arnold and Eugene Fisher prior to the
  22       shooting.
  23                 There's a video of Eugene Fisher that will be
  24       presented at trial where he's holding an assault rifle
  25       talking about going out on ops, going out on operations.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18504   Page 12 of
                                      77
                                                                           12



   1                 There is a conversation between Billy Arnold and
   2       Eugene Fisher via text message in the late evening of
   3       September 25, 2015 where Billy Arnold tells him that I
   4       need to come to your crib and grab my hookups.           I'm coming
   5       to your crib to grab something.        Be close.
   6                 Shortly thereafter, Billy Arnold gets into a high
   7       speed police chase, and the police recover the Bushmaster
   8       rifle that was used in multiple shootings.
   9                 Shortly after that, a couple of days later, Eugene
  10       Fisher posts a picture on Facebook with him and another
  11       gentleman, where one of them is holding an assault rifle,
  12       and Mr. Fisher just says -- or says, the feds just took my
  13       AR that my bro is holding.
  14                 This is a defendant that is charged with RICO
  15       violation in Count 32 along with all of the other
  16       defendants -- I'm sorry -- Count 1 with all of the other
  17       defendants, which means the evidence against him is going
  18       to be primarily the same as all of the other defendants.
  19                 There's absolutely no reason to sever him out of
  20       this case.    He is not even close to being the least
  21       culpable.    The evidence is basically in proving the RICO
  22       charge the same against him as it is against everybody
  23       else.   Anything that he talks about with respect to the
  24       defendants, there's no prohibition when you have six
  25       defendants that are charged with one count of a RICO


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18505   Page 13 of
                                      77
                                                                            13



   1       violation to refer to them as the defendants.
   2                 I understand the jury will have to decide each one
   3       of the cases separately, and I think the jury is capable
   4       of doing that, but to tell the jury the defendants are
   5       charged with a RICO violation is a true statement.             We
   6       weren't the only ones that did it.        Defense counsel did it
   7       during their voir dire.      There was no intentional design
   8       to bring specific attention to Mr. Fisher, and in fact,
   9       when Mr. Scharg was arguing this motion to you just now,
  10       he used the term "defendants" three different times.
  11                 So it's not being done by design to try to bring
  12       him into something that he is not part of.           The Court has
  13       the ability through jury instructions throughout case,
  14       beginning of the case, middle of the case, and at the end
  15       of the case to make sure this jury knows, which I think
  16       this jury already knows after three days of jury
  17       selection, that they are to decide each defendant's case
  18       separately.    I believe they are capable of doing that.
  19                 Based on the brief that the government submitted,
  20       there's absolutely no reason whatsoever to sever
  21       Mr. Fisher out of this case.
  22                      THE COURT:    All right.       Thank you.
  23                      MR. H. SCHARG:     Judge, may I briefly?
  24                      THE COURT:    Yes, a minute.
  25                      MR. H. SCHARG:     I want to school the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18506   Page 14 of
                                      77
                                                                           14



   1       government a little on the history of this case very
   2       briefly.
   3                 We had a pretrial several months ago down in Judge
   4       Tarnow's courtroom where a number of the defendants were
   5       very disrespectful to the Court with banter, and just
   6       acting out, where the defense lawyers were all -- where --
   7       where the marshals caucused with the defense lawyers --
   8       all of the defense lawyers to reprimand them about the
   9       behavior of their clients.       I thought at that time that --
  10       I got the message, and I was hopeful that everyone -- and
  11       my client got the message, and we were hopeful that
  12       everybody got that message or memo.
  13                 It was apparent during this trial the other day --
  14       and Mr. Bilkovic was in the courtroom -- when one of the
  15       defendants had an outburst and referred to the Court as
  16       Steeh.    Steeh.   I'm not getting my meals on time.         Steeh.
  17                 That's the disrespect and banter that I'm talking
  18       about which is consistent with what happened at the
  19       earlier proceeding, and -- and I've been in this case from
  20       the duration, and -- and what I'm saying about the
  21       concerns that I have regarding a continuation of this type
  22       of conduct which has nothing but negatively affected my
  23       client's right to have a fair trial.          There's nothing that
  24       I saw before.      There's nothing that I saw in the last
  25       couple of days that changed my mind or make me feel that


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18507   Page 15 of
                                      77
                                                                            15



   1       this banter and disrespect will not continue in this
   2       trial.
   3                 My client wants no part of it.         I don't want any
   4       part of it.    The concern is that it will spill over to my
   5       client.    Any type of disrespect or banter created will
   6       have a spill over affect to my client, his right to have a
   7       fair trial.
   8                 The government, you know, again talked about the
   9       May 10th shooting and says well, there was a phone call,
  10       and when we say "there was a phone call", that means from
  11       the detailed call records it shows that there was a call
  12       made from Mr. Arnold to Mr. Fisher.           It doesn't tell us
  13       the length of the call, whether the call was completed,
  14       because when you make a call and someone doesn't pick it,
  15       it is still recorded in that -- in those records as a
  16       call.
  17                 So there's no evidence that there was ever any --
  18       there's some evidence there was a call made, but there's
  19       nothing that there ever was a conversation or that the
  20       call was completed that we have.
  21                 The other testimony was text messages from
  22       Mr. Arthur regarding a hookup.        There's no indication that
  23       Billy Arnold went to Mr. Fisher's home at night and picked
  24       up a gun.    All there is is a text saying I need my hookup.
  25                 Pics in September or later in 2015, months after


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18508   Page 16 of
                                      77
                                                                            16



   1       the shooting has nothing to do with the shooting itself.
   2       This is all red herrings by the government.
   3                 When I say my client is the least culpable, he may
   4       not be the least culpable of the 21 defendants charged,
   5       but he's the least culpable of the people in this trial
   6       group, and it's for those reasons that we're asking the
   7       Court for the relief and severance.
   8                      THE COURT:    All right.       Thank you, Mr.
   9       Scharg.
  10                 The Court basically agrees with the position
  11       advocated by the government in this case, and I think it
  12       is important to clarify the timing question of this
  13       request for severance.
  14                 In the defendant's papers there was a reference to
  15       an oral motion that was made, and I think it was Mr.
  16       Scharg's recollection that the oral request for severance
  17       was made in either March or May, but indeed, the dates
  18       suggested were not accurate.       The oral request by Mr.
  19       Scharg for severance was April 30, 2018, and at earlier
  20       hearings, both in March of 2015 and in May, May 22nd,
  21       the -- Mr. Scharg on behalf of his client was opposing the
  22       idea of severance.
  23                 Indeed, May 22nd, I believe we had an in chambers
  24       conference, and at that in chambers conference, Mr. Swor
  25       on behalf of Mr. Robinson pressed the written motion for


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18509   Page 17 of
                                      77
                                                                           17



   1       severance that he had filed, and the Court in chambers
   2       asked if any others were interested in severance because
   3       of the number of defendants that we had.          The Court felt
   4       efficiency would dictate either the number that we have
   5       now or one less, and Mr. Swor, of course, did press his
   6       motion when we went back on the record, and Mr. Scharg did
   7       not, and I recall -- and I could be mistaken -- but I
   8       recall asking Mr. Scharg specifically that day in May
   9       whether his client was interested in severance, and I was
  10       told no, but all of that is kind of secondary any way to
  11       the arguments made here.
  12                 As it relates to misconduct on the part of the
  13       defendants, I think this was earlier in the case where
  14       there have been some episodes as described by Mr. Scharg
  15       that are less than desirable.       We have no jurors at that
  16       point, and it's the Court's opinion that the behavior of
  17       the defendants during jury selection was fine.           They know
  18       who the decision maker is apparently, and I don't -- I
  19       didn't consider their behavior disruptive in the least.
  20                 The one issue that we had with Mr. Patterson, the
  21       Court ended up concluding was not founded.          The complaint
  22       that Mr. Patterson was making gestures was found to be not
  23       accurate, and I think it's logical to expect that the
  24       behavior by defendants during the trial is going to be as
  25       experienced with the jury selection process, and it was


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18510   Page 18 of
                                      77
                                                                           18



   1       fine.
   2                 So I think that concern on Mr. Fisher's part that
   3       the other co-defendants are going to misbehave and that
   4       would somehow prejudice his case is not a concern at all.
   5                 We have gone through jury selection.        We have not
   6       sworn the jurors in.      So I'm not concerned about jeopardy
   7       as it relates to Mr. Fisher, but Mr. Fisher participated
   8       in the jury selection process, and what am I to do if I
   9       were to grant this request?       Am I going to have to
  10       consider starting all over again with jury selection?             I
  11       don't think so, and yet, to the extent that he
  12       participated in that process, I think it is a legitimate
  13       question.
  14                 We have -- I was concerned about the room when I
  15       invited at this May 22nd date -- when I invited people to
  16       indicate if they wish the Court to consider severance, I
  17       was concerned about having a courtroom, period, much less
  18       a courtroom that would accommodate the number of
  19       co-defendants that we had as of that date, and I ended up
  20       getting one, and that was Mr. Swor who pressed his case,
  21       and at a minimum there was no request for severance as of
  22       that date by Mr. Scharg on behalf of Mr. Fisher.
  23                 So I think as it relates to his level of
  24       culpability, I don't know.       In general, he's charged with
  25       furnishing weapons that were used in the commission of


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18511   Page 19 of
                                      77
                                                                           19



   1       murders and other serious violence, and I don't think that
   2       the seriousness or the culpability of the charges, if
   3       accurate, are of utmost seriousness and consequence.
   4                 So -- so I think for all of those reasons -- well
   5       in addition, we got -- this is my second trial under this
   6       indictment, and I've got -- I've got a number of
   7       defendants who are lined up for the next round, and I've
   8       got Mr. Arnold who will be tried separately, and a round
   9       to follow that presumably.
  10                 So it would be inefficient to add Mr. Fisher now
  11       to the next group up, which I think we already got seven
  12       defendants in that group.       I'm not totally sure.        It seems
  13       to me efficiency and fairness both dictate that the
  14       request be denied.      So the Court will deny it.
  15                      MR. H. SCHARG:     Very good, your Honor.       I
  16       understand the Court's ruling.        Therefore, I am asking the
  17       Court in its preliminary instructions to the jury on
  18       Monday to give 2.O1(c), which is the instruction regarding
  19       separate consideration, which is the appropriate
  20       instruction that the Court will give at the end of the
  21       trial, but because of the concerns that I have, I'm
  22       requesting that instruction also be given --
  23                      THE COURT:    I agree.
  24                      MR. H. SCHARG:     Okay.   And second of all, if
  25       either side, the government or co-counsel, make any


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18512   Page 20 of
                                      77
                                                                            20



   1       statements in front of the jury that's inconsistent with
   2       that, I will be standing up and objecting and asking for a
   3       cautionary instruction each time that happens.
   4                      THE COURT:    Well, I'll think about that one.
   5                      MR. H. SCHARG:     Okay.
   6                      THE COURT:    All right.       The next issue is the
   7       government's motion to exclude evidence or testimony
   8       concerning prior acquittals, and who will address that,
   9       Mr. Bilkovic?
  10                      MR. BILKOVIC:     Thank you, your Honor.        I will
  11       be brief I know the Court read the pleadings.
  12                 The government is asking for a ruling from the
  13       Court prohibiting any mention or reference to Corey
  14       Bailey's acquittal of one of the murder cases that we're
  15       going to present evidence on this case, the October 21,
  16       20O9 Calloway murder, as well as recent Michael Rogers
  17       acquittal in the last trial.
  18                 I've cited to the Court the cases that are
  19       relevant on this issue, and basically those cases stand
  20       for the proposition that judgments of acquittal are almost
  21       always excluded because of the lack of relevancy because
  22       they are not proof of innocence, and the judgment of
  23       acquittal does not decide any facts of issue, but simply
  24       means the government failed to convince the jury beyond a
  25       reasonable doubt.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18513   Page 21 of
                                      77
                                                                           21



   1                 Judgments of acquittal have little, if any,
   2       probative value, and if the Court were to determine there
   3       was some probative value, case law is very clear that if
   4       the Court makes that determination under a 403 analysis,
   5       the danger of unfair prejudice or confusing the jury
   6       substantially outweighs any limited probative value those
   7       may have, especially with respect to the Corey Bailey
   8       acquittal where you have a different sovereign, different
   9       evidence.    It's not like we're going to just simply
  10       present the transcripts of that trial where it's going to
  11       be identical.     There are going to be differences.
  12                 With respect to the Michael Rogers acquittal, he
  13       was charged with different charges and had a different
  14       role allegedly than defendants in this case.          Those
  15       defendants in this case are charged with involvement in
  16       shootings, including murders, and so the difference
  17       between these defendants and Mr. Rogers are substantial,
  18       and based on those reasons, and the reasons that I've
  19       cited in the government's motion, we would ask the Court
  20       to preclude any mention or reference to those acquittals.
  21                      THE COURT:    Thank you, Mr. Bilkovic.
  22                 On behalf of the defendants, Mr. Daly?
  23                      MR. DALY:    Yes.   Thank you, Judge.
  24                 Judge, Craig Daly on behalf of Corey Bailey.           Good
  25       morning.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18514   Page 22 of
                                      77
                                                                           22



   1                      THE COURT:    Good morning.
   2                      MR. DALY:    When I think about the
   3       government's motion I think it is closely tied to the
   4       question of the government's intent to introduce judgment
   5       of conviction, the proofs of some of the overt acts.
   6                 We filed a motion to dismiss on the grounds that
   7       Mr. Bailey was acquitted of the Calloway murder.             Your
   8       ruling was they were separate sovereigns, and that the
   9       government would be allowed to introduce evidence
  10       regarding the Calloway homicide.        We're not opposed to the
  11       government introducing evidence based on your ruling.
  12       They are allowed to do that, and we will contest that
  13       evidence obviously, vigorously.        So there's a difference
  14       between the question of evidence that the government seeks
  15       to introduce, and then the actual acquittal.          So as I
  16       said, I think these are closely tied prior convictions and
  17       the acquittal.
  18                 When I filed a motion in limine on my behalf
  19       seeking to exclude the judgments of conviction, not the
  20       evidence, but the actual judgments as evidence, what the
  21       government responded to was with a single case, and that's
  22       the Tocco case, T-o-c-c-o.       The Tocco case is a mafia case
  23       that was tried here in the Eastern District, and when you
  24       read that case, what the Court said was that the prior
  25       convictions were convictions and judgments of convictions


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18515   Page 23 of
                                      77
                                                                           23



   1       of the co-defendants, not of Mr. Tocco, and what they said
   2       was Mr. Tocco had the opportunity to show to the jury that
   3       he, Mr. Tocco, was not involved with the crimes for which
   4       the judgments of convictions for the co-defendants had
   5       been entered, and they talked about the right of the
   6       defendant to a trial by jury.
   7                 So what I'm saying is that these two issues before
   8       you are closely related, and I think that you have to
   9       consider them together; in other words, is the government
  10       going to be allowed to prove an overt act only to a
  11       judgment of conviction, or should they be allowed to
  12       introduce evidence?
  13                 On the second matter, we cannot oppose it.           You've
  14       ruled that they can introduce evidence.          That's fine.     Let
  15       them do that, but the judgment of conviction in itself is
  16       misleading.    It's confusing to the jury.        They maybe of
  17       the impression that since Mr. Bailey was convicted of the
  18       underlying offense and there was the judgment of
  19       conviction, that they don't have any say in the matter.
  20                 The flip side of it is the same thing.         The
  21       government is trying to preclude a judgment of
  22       conviction -- of acquittal saying that Mr. Bailey went to
  23       trial in state court, and he was acquitted, and they are
  24       also trying to preclude evidence of the acquittal itself
  25       because we expect that there maybe witnesses who will come


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18516   Page 24 of
                                      77
                                                                            24



   1       and say oh, I testified in that trial -- prior case in
   2       state court, and it may come up that he was acquitted.
   3                 So I think these are closely linked together, and
   4       our position is evidence that -- of the underlying cases
   5       that the government wants to introduce is admissible, but
   6       the actual judgments are not, and if you consider them
   7       together, the prior convictions and the acquittals, I
   8       think that the fair result would be both should be
   9       excluded.    Let the government introduce the evidence that
  10       they want.    Let us contest the underlying evidence
  11       regarding all of the overt acts, and leave the question of
  12       judgments and acquittals in the state court out of this
  13       case because it is very misleading.           It's very confusing
  14       to the jury.
  15                      THE COURT:    All right.       Thank you, Mr. Daly.
  16                      MR. BILKOVIC:     Your Honor, in brief response,
  17       again, the problem is the law says that's what you do.                It
  18       talks about the limited relevance, if any, of acquittals,
  19       but it talks about improving, especially the Tocco case,
  20       improving -- or has evidence proving an act that you can
  21       use, a prior conviction.
  22                 And the government's position at this point is
  23       we're not intending to use judgments of conviction, but if
  24       issues become contested, for example, we have a conviction
  25       where a defendant, such as Mr. Bailey, entered a guilty


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18517   Page 25 of
                                      77
                                                                            25



   1       plea where they laid out the factual basis of a conviction
   2       and there was a conviction entered, but yet, the defense
   3       at trial was he wasn't there.       He was in another state.
   4       He had nothing to do with this.        We certainly feel that we
   5       have the right to then bring that in.
   6                 But as a starting point, we don't plan at this
   7       point in our case in chief to use evidence of judgment of
   8       convictions to establish the predicate acts unless we're
   9       forced to based on a defense strategy.           If based on the
  10       questioning, if we feel it is appropriate, we can approach
  11       the Court, have the Court make the determination, but
  12       right now we don't plan on using it, but I think under the
  13       Tocco case, if we want to establish it, we are entitled
  14       to.
  15                      THE COURT:    All right.       Okay.   Thank you.
  16                 Based on the argument, both in the papers that
  17       have been filed with the Court, as well as orally today, I
  18       can certainly understand the argument by Mr. Daly that it
  19       doesn't appear to be fair if -- as it is one sided, and
  20       the issues are generally at least related to one another,
  21       but indeed, the relevance of an acquittal is quite
  22       different than the probative value of a conviction, and in
  23       light of the government's stated intention not to prove
  24       the fact of a conviction unless defense strategy would
  25       open that door, the Court has found the general discussion


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18518   Page 26 of
                                      77
                                                                           26



   1       of this issue and the ruling in U.S. versus Castro
   2       Ramirez, 461 Fed Appendix 467, 2012 decision written by
   3       Judge Sutton.     The Court finds the reasoning persuasive.
   4                 There are references to Sixth Circuit opinions
   5       going back to as far as 1983 and 20O2 that -- that would
   6       dictate granting the motion in limine filed by the
   7       government.
   8                 And so the Court grant that motion in limine.
   9       There is to be no references to the acquittals subject
  10       that is the subject to that motion.
  11                 All right.    So the next matter to address is a
  12       motion in limine filed by Mr. Daly.
  13                      MR. DALY:    Thank you, Judge.
  14                 What I want to begin with -- because we have
  15       addressed a number of different areas -- I think it is
  16       helpful to start with what the parties agree to.
  17                 There was an agreement regarding a specific rap
  18       video that we filed a motion in limine, and the rap video
  19       is referred to as OG HardWorkJig Sonny, and it may be
  20       Sonny Cocaine, and that is Government Proposed Exhibit 68.
  21                 What we raised was a Fifth Amendment argument
  22       because as part of his rap, Mr. Bailey says, quote, I kept
  23       silent.    It was well worth it.
  24                 There is some other language that he used in that
  25       context too about the prior homicide that you just ruled


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18519   Page 27 of
                                      77
                                                                           27



   1       on, where he says I beat the murder.          Not guilty was the
   2       damn verdict.     You just ruled that can be excised, that
   3       that should not be a part of the case.
   4                 I just want to say at this point, the agreement,
   5       as I understand the government's position, is that the
   6       reference to, I kept silent.        It was well worth it, will
   7       not be admitted, and that's the extent of the agreement.
   8                 So we have an agreement between the parties with
   9       regard to that, and then we have the Court's ruling that
  10       this other portion should excised, and I think that's an
  11       accurate representation of that particular issue that I
  12       raised.    Is that a fair summary?
  13                      MS. FINOCCHIARO:      Yes, your Honor.
  14                      MR. DALY:    Okay.    So there are a number of
  15       issues that I need to go through.        This will take me some
  16       time, so I appreciate your patience.
  17                 What I want to start with is the government's
  18       attempt to use certain aliases that Mr. Bailey used down
  19       in West Virginia.     There were three separate incidents all
  20       in Charleston, West Virginia, and they are contained in
  21       Overt Acts 66, 72 and 74, and on three separate dates, and
  22       dates respectfully are October 27, 2009, November 6, 2009
  23       and February 8, 2012.
  24                 So the government intends to use this information.
  25       They claim that this use of what they refer to as fake


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18520   Page 28 of
                                      77
                                                                             28



   1       names is part of the enterprise and conspiracy charge in
   2       Count 1.
   3                 What the government and the defense agrees to is
   4       what Sixth Circuit precedent is.        What the law here in
   5       this circuit is that evidence of an alias is not to be
   6       used in an indictment or as evidence at trial.           So it is
   7       disfavored, and that's the starting point, and the case
   8       law says there's one exception, and the one exception is
   9       is there a question of identification, and the question of
  10       identification could be raised in two contexts
  11       essentially.
  12                 One is the defense could say well, when Mr. Bailey
  13       was down in West Virginia and said that he was Eric Brown
  14       or Dwayne Pruitt, the defense could say hey, it wasn't
  15       Corey Bailey.     It was some other person.       That won't
  16       happen.    We won't do that, and there's a good reason for
  17       it, and the reason for it is the second part, which is
  18       that law enforcement in each one of these instances was
  19       able to determine either at the time or shortly thereafter
  20       that the person was, in fact, Corey Bailey.          No question
  21       about.
  22                 So when they either detained him or they arrested
  23       him, they would often take his photograph.          They would
  24       take his fingerprints, and they knew who he was.             So
  25       there's really no issue at all about whether or not there


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18521   Page 29 of
                                      77
                                                                           29



   1       was Corey Bailey.     It's not a material issue.
   2                 So the government in response to the motion cited
   3       to the Weaver case, and the Weaver case is a Sixth Circuit
   4       unpublished opinion, and in the Weaver case they said that
   5       the use of an alias could be admitted because it was
   6       connected specifically to that case.
   7                 And what happened in Weaver is that Mr. Weaver was
   8       stopped by the police, and he gave what the police
   9       believed was a false name, and in response to that, they
  10       moved him from one place to another, to another residence
  11       so that they could determine who he was, and in the
  12       process of doing that, according to the police, Mr. Weaver
  13       took out a gun and dropped it.
  14                 So in the context of that case, they needed to
  15       show why it was that they were moving him from Point A to
  16       Point B and in relation to that he dropped the gun.
  17                 So that's the Weaver case, and that's so much
  18       different than what we're dealing with here, because the
  19       use of his aliases in all three instances are disconnected
  20       from anything that the police actually ended up doing.               It
  21       doesn't matter.     Had he said he was Mother Teresa or John
  22       F. Kennedy, everything that the police did for the most
  23       part afterwards ended up in with the same result.
  24                 So if we go first of all to the February 8, 2012
  25       incident, which Overt Act 66, if you recall when we had


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18522   Page 30 of
                                      77
                                                                           30



   1       the evidentiary hearing, that's when Detective Allen had
   2       information about some drug activity at an apartment.
   3       That apartment belonged to a person named Adam Halstead.
   4       And so they went and did what they call is a knock and
   5       talk because they were doing an investigation, and when
   6       they walked into the apartment, they saw Mr. Halstead,
   7       they saw a man identified as Mr. Powell, and they saw
   8       Corey Bailey.     And they asked Mr. Bailey what is your
   9       name, and he said Eric Brown, but because of those
  10       officers who were there had been doing an ongoing
  11       investigation, one of them knew already that he was not
  12       telling the truth about who he was, but that didn't make
  13       any difference, because really what they were looking for
  14       were drugs in the apartment.
  15                 So they searched the apartment, and they find a
  16       single pill in the bathroom, and according to Detective
  17       Allen, he comes back and confronts Mr. Bailey and he says,
  18       do you mind if I pat you down, and Mr. Bailey allegedly
  19       says okay, and they pat him down, and they find some
  20       money, and they put it back in his pocket, and then they
  21       say, can we pat you down further, and in that pat down,
  22       according to Detective Allen, he feels a hard object in
  23       the cheeks of his buttocks, and they place him under
  24       arrest because he believes, based on his experience, that
  25       there are drugs, and they take his down to the precinct.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18523   Page 31 of
                                      77
                                                                           31



   1       They don't have the drugs, and they get a search warrant.
   2       And in the search warrant, they don't refer to Eric Brown
   3       because they know who he is.       The search warrant to do
   4       that intrusive search is for Mr. Bailey because they know
   5       who he is.    And so eventually Mr. Bailey turn over the
   6       drugs, and that's essentially it.
   7                 It doesn't matter whether he said my name is Corey
   8       Bailey or Eric Brown.      What happened happened, and they
   9       ended up with the drugs.       So it isn't intricately
  10       intertwine into what happened in this case.          It didn't
  11       matter one way or the other.
  12                 The same thing if we go to November 6, 20O9, which
  13       is Overt Act 72.     That's the case where the government
  14       claims that Mr. Bailey was walking in a parking lot.             As
  15       he's walking in the parking lot, nearby are officers from
  16       the Charleston West, Virginia Police Department.             They are
  17       in plain clothes, unmarked vehicle, and they claim that
  18       Mr. Bailey then drops some items.        They don't know what it
  19       is.   They go over and pick up the items, and those items
  20       include two small bags of marijuana, 53 pills of Xanax --
  21       not the drugs that normally were associated with the drug
  22       dealing of the Seven Mile Bloods -- and a small amount of
  23       cocaine.
  24                 So then they meet up with Mr. Bailey having seen
  25       him alleging throw down these drugs, and they ask him what


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18524   Page 32 of
                                      77
                                                                           32



   1       his name is.     He says Dwayne Pruitt.       It doesn't matter
   2       what he says.     He could say whatever he wants.        They are
   3       going to arrest him.      They saw what he did, and so there
   4       is no connection really between what he is saying about
   5       who he is and police activity.
   6                      THE COURT:    Wouldn't it intend to show
   7       consciousness of guilt?
   8                      MR. DALY:    In what way?      So if he says, I'm
   9       Judge Steeh, do you think they're going to do anything
  10       different?    No.   They are going to arrest you like they
  11       arrested Mr. Bailey.      It doesn't really matter what he
  12       says.   He can't conceal what he did based on who he is
  13       because they're operating not what he is saying about his
  14       identity, but what he did, right?        So that's the
  15       disconnect.
  16                 So the government can say consciousness of guilt
  17       theoretically, and that has some traction to it, but it's
  18       only when you analyze the specific conduct of the parties
  19       and the place that you realize that theoretically it
  20       doesn't fit.     That's why I'm going through all of the
  21       facts, because there's nothing that the police do that's
  22       different based on his fake name.
  23                 So the reason why I'm doing this is that 4O1, 4O3,
  24       401 is it relevant?      Is it probative, and is it more
  25       prejudicial than probative?       And so if Mr. Bailey got on


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18525    Page 33 of
                                      77
                                                                                33



   1       the witness stand and testified about these incidents,
   2       then they could introduce this for credibility.               They
   3       could impeach him because he used a false name and he
   4       lied.   So that's a different thing than the government in
   5       their case in chief using it as character evidence to
   6       impugn who he is.     Those are accept two separate issues.
   7                 So I would say if we put him on the stand, the
   8       government is free to ask him about all his aliases, did
   9       he use them and why did he do it.
  10                 And the last incident is Overt Act 74 from
  11       October 27, 20O9.     That's a case where the police stopped
  12       a vehicle driven by a woman whose name I recall is
  13       Ms. Parker.    I think you heard evidence of that at the
  14       evidentiary hearing.      Mr. Bailey was a front passenger of
  15       the vehicle, and when they stopped the vehicle, because
  16       allegedly there was a brake light that was out, and they
  17       ordered everybody out.      Mr. Bailey was the front
  18       passenger.    They told him to get out.        They searched him.
  19       They found no weapons, no guns, no money.           Nothing.
  20                 So what is the consciousness of guilt related to
  21       that because they don't arrest him?           He's got no drugs.
  22       He's not hiding anything in terms of the offense.              What
  23       they found a bag -- a duffel bag in the trunk with a small
  24       amount of marijuana and some money that Mr. McClure said
  25       belonged to him, and Mr. McClure was arrested.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18526   Page 34 of
                                      77
                                                                           34



   1                 So what I'm trying to do, Judge, is give you the
   2       specifics of the case that put it in context because the
   3       government often says in their reply, you've got to put it
   4       in context.
   5                 So when we move from the theoretical of
   6       consciousness of guilt to the specifics, there's such a
   7       disconnect between the two, that it is our position that
   8       you should exclude that in the case in chief.          You're
   9       frowning at me.
  10                      THE COURT:    Yeah, I'm not sure I understand
  11       the theoretical reference.       You got -- why would it be any
  12       different than fleeing the police?        Obviously, defendants
  13       may flee for a number of innocent reasons --
  14                      MR. DALY:    Yes.
  15                      THE COURT:    -- but one potential inference on
  16       flight by a defendant is that he's fleeing because he
  17       knows that he's done something wrong, and he doesn't want
  18       to be caught.
  19                      MR. DALY:    Yes.
  20                      THE COURT:    Right?
  21                      MR. DALY:    Right.
  22                      THE COURT:    Why is this any different from
  23       that?
  24                      MR. DALY:    Well, there's a difference between
  25       flight where we're trying to actively escape arrest or


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18527    Page 35 of
                                      77
                                                                               35



   1       detection, and what I said.       So if the person, according
   2       to the police, committed the crime in their presence, it
   3       doesn't matter who they are.       That's the disconnect.           So
   4       it doesn't matter what he says about who he is.              He's
   5       going to be arrested, right?
   6                      THE COURT:    Well, depending on the discretion
   7       the officer employs.      We have a number of incidents with
   8       these very defendants where they might -- you might have
   9       anticipated that they would be arrested, but the officer
  10       employed his discretion and decides that maybe somebody
  11       else is more culpable than this individual and lets them
  12       pass, and maybe that could very well be the result because
  13       in another context they don't know who they are dealing
  14       with.
  15                      MR. DALY:    I think as a general concept, I
  16       would agree, but when you get down to the specifics of
  17       what was happening, I don't think that the officers would
  18       ever exercise their discretion not to arrest Mr. Bailey
  19       because he said he was somebody else given what they saw.
  20       If they see him drop the drugs, they are going to arrest
  21       him, right?    They are not going to say, oh, you're Eric
  22       Brown.    We'll let you go home.      Oh, you're Dwayne Pruitt.
  23       We'll let you go home.      You're not Corey Bailey.         We'll
  24       let you go home.     That's what I'm talking about.
  25                 The question of flight is separate from the use of


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18528   Page 36 of
                                      77
                                                                           36



   1       an alias to try to deceive the police in terms of what
   2       they are doing.     That is at least how I see it in the
   3       context.
   4                      THE COURT:    Okay.    Thank you, Mr. Daly.
   5                      MR. DALY:    Do you want me to go onto the next
   6       area, or do you want them to respond because we are going
   7       through a number of different areas?
   8                      THE COURT:    Well, why don't I hear the
   9       response.    I know part of the response is going to be it
  10       is premature, that I should be making these judgments as
  11       the evidence comes in, and if I end up agreeing with it,
  12       maybe that will relieve you of the need to go through all
  13       of the others.
  14                      MR. DALY:    Okay.    Thank you.
  15                      MR. SLOAN:    Good morning, your Honor.
  16       William Sloan on behalf of the United States.
  17                      THE COURT:    Welcome, Mr. Sloan.
  18                      MR. SLOAN:    Thank you, your Honor.
  19                 Your Honor, as you just mentioned the first
  20       argument the government would make is that this is
  21       premature; that most of evidentiary arguments raised by
  22       the defendant, including this one, would be better
  23       resolved during trial in the proper factual context, but I
  24       would like to avoid -- excuse me -- address a couple of
  25       the issues raised by Mr. Daly.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18529   Page 37 of
                                      77
                                                                           37



   1                 Just starting with the framework, the cases here,
   2       I certainly agree with Mr. Daly on the cases he cited, and
   3       there's a Sixth Circuit case that says we disfavor the use
   4       of aliases in indictments or at trial.          However, I think
   5       it is important to look at the context of those cases, and
   6       what the Court's concern is.
   7                 I think these are best interpreted as the Court
   8       just putting a thumb on the scale of 4O3, and cases that
   9       the defendant cites involves these facts.
  10                 Number one in Wilkerson, that involved the
  11       prosecutor inflaming the jury, as the court put it, by
  12       referring to the defendant using an alias and saying
  13       people with nothing to hide don't use aliases.           That's not
  14       the case here.     It's not what the government will use this
  15       evidence for.     This evidence will come in simply as part
  16       of the narrative explanation of testifying regarding the
  17       police officers.
  18                 Number two --
  19                      THE COURT:    Wait.    Wait.   Wait.   So we're
  20       discussing the probative value of this evidence, and
  21       you're argument is that it is just part of the narrative?
  22                      MR. SLOAN:    Well, your Honor, I'll turn to
  23       that in one second.      I was just trying to set the
  24       framework.    I think the Court's concern of these cases is
  25       sort of the inherently prejudicial nature of a potential


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18530   Page 38 of
                                      77
                                                                           38



   1       nickname, or if the government uses it in a certain way.
   2       Neither is the case here.
   3                 So the other example that I was going to make,
   4       your Honor, is in the Williams case.          That defendant's
   5       nickname was Capone.      Obviously, that has some inherent
   6       prejudicial value.
   7                 If this were a case hypothetically where the
   8       defendant's nickname was murder, quote-unquote, but it was
   9       a drug case, we could certainly understand why there might
  10       be an issue there.      That is just not the factual
  11       circumstance we're dealing with here.         These were anodyne
  12       fake names, just like Joe Smith, the defendant gave
  13       obviously to avoid getting caught.
  14                 There were three instances which Mr. Daly referred
  15       to, and as the government set forth in its brief, these
  16       uses of fake names are relevant for a couple of reasons.
  17                 Number one, I think it does help certain officers
  18       identify the defendant for a given action.          It's part of
  19       the narrative explanation of how this encounter
  20       unfolded -- how they first encountered Mr. Bailey, and
  21       ultimately identified him by his true name.          But as the
  22       Court referred to a minute ago, I think the really
  23       important point here is it is evidence of consciousness of
  24       guilt, not only of the pattern of drug dealing conduct in
  25       West Virginia, which is alleged as racketeering activity


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18531   Page 39 of
                                      77
                                                                              39



   1       in the indictment, but also the government would note of
   2       the October 21, 20O9 murder of Ronald Calloway.
   3                 The first -- I think it is notable, your Honor,
   4       that the first time Mr. Bailey used the alias Dwayne
   5       Pruitt was October 27th, just six days after that
   6       homicide.    So perhaps he left the Detroit area, was down
   7       in West Virginia, and when encountered by the police it
   8       doesn't matter whether or not they found anything on him
   9       or were going to arrest him.       It's what was in Mr.
  10       Bailey's mind, which is, I want to avoid getting caught.
  11       He doesn't know what the police are going to do.             The
  12       police might just run the name he gives, and not
  13       ultimately fingerprint him and take him back to the police
  14       station to confirm that identity.
  15                 So I think it is consciousness the guilt because
  16       Mr. Bailey just doesn't know what actions the police are
  17       going to take as the your Honor just pointed out.
  18                 Your Honor, I would also point out that he used
  19       that fake name twice in a row or about two weeks later,
  20       which again, is evidence of the pattern of his travel to
  21       West Virginia for drug activity, and using the same
  22       pattern of trying to avoid getting caught giving the same
  23       name to police.
  24                 Your Honor, for those reasons, the government
  25       would suggest, first of all, that it's premature to


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18532   Page 40 of
                                      77
                                                                           40



   1       exclude this categorically in advance of trial, but on the
   2       merits it is relevant to show consciousness of guilt on
   3       behalf of Mr. Bailey.
   4                      THE COURT:    Okay.    Thank you.
   5                      MR. DALY:    So Judge, I'll just respond, and
   6       then I'll move on to the next argument.
   7                 As you heard in the evidentiary hearing, when
   8       Detective Allen and the other officer -- whose names
   9       escape me -- when they talk about these incidents when
  10       Mr. Bailey used an alias, they refeed to him as Bailey.
  11       They never referred to him as Brown or Pruitt, because
  12       they knew who he was.      The only time the alias came up was
  13       when the government directly asked the question, did he
  14       use a different name.      Other than that, they started from
  15       Point A to the end, always referred to him as Corey
  16       Bailey.    So it's -- there's no confusion here among the
  17       police about who he was, and what they are going to say at
  18       trial.
  19                 So when talking about consciousness of guilt, it
  20       has to be consciousness of guilt of the crime charged is
  21       what the law says, and so the government says well, if
  22       it's not consciousness of guilt of the actual offense for
  23       which he was arrested, it has something to do with a
  24       homicide back in 20O9, but what they didn't tell you is
  25       that the warrant for the homicide in 20O9 wasn't signed by


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18533   Page 41 of
                                      77
                                                                           41



   1       the prosecutor until October 26th.        So we're talking about
   2       him using an alias on October 27th in West Virginia, and
   3       the chances of him knowing that a warrant signed by the
   4       prosecutor had been put on the docket sheet, and not
   5       necessarily put in the lien machine the day before is
   6       almost zero.     So to say that he was trying to avoid
   7       apprehension for the homicide does not fit either
   8       factually.
   9                 So that's what I would say in response to the
  10       government, and may I move to the next issue, Judge?
  11                      THE COURT:    Yes.
  12                      MR. DALY:    Thank you.
  13                 So this has to do with the conspiracy hearsay
  14       objections, and again, the government says that this is
  15       premature, and if you agree, I will sit down and not say
  16       another word.     I will object during the trial, but my
  17       understanding is that when we filed this original motion
  18       to have you order the government to disclose to us at
  19       least 24 hours in advance what they intended to do, it was
  20       your intent to have these issues litigated not in front of
  21       jury, but before, and that's why I don't think it is
  22       premature because that's the same argument that they made
  23       as they just did.
  24                 They don't want you to rule on this, but they
  25       haven't said to you that these witnesses will say


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18534   Page 42 of
                                      77
                                                                           42



   1       something different than what they said in the first
   2       trial; in other words, they don't have, and they don't
   3       make an offer of proof that there's some additional reason
   4       why this evidence should be admissible.          And so I say as a
   5       matter of expediency, you should decide this now unless
   6       the government has something else that they have not put
   7       in their brief that they want to bring to your attention.
   8                 And so what we are talking about are two witnesses
   9       that testified during the first trial, and the first
  10       witness is a person Derrick Kennedy.
  11                 So Derrick Kennedy testified that contrary to the
  12       government's brief where they said that he was an SMB
  13       member, he testified explicitly before you during his
  14       guilty plea he was not a member, which you considered
  15       previously in ruling on these issues was important.
  16                 So we have Derrick Kennedy saying he's not a SMB
  17       member, and we also have the fact that the other person
  18       who is involved in this conversation, allegedly Michael
  19       Rogers, was acquitted.
  20                 So does the acquittal mean that you're completely
  21       bound by that?     No, because it is proof beyond a
  22       reasonable doubt, and now you're at a preponderance of the
  23       evidence.    So those are two different standards, but to
  24       ignore that powerful evidence that he was acquitted, I
  25       think would be a mistake.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18535   Page 43 of
                                      77
                                                                            43



   1                 So the beginning of analysis is are these people
   2       who are SMB members or not, and that's the beginning of
   3       the conversation I think for you.
   4                 So according to Mr. Kennedy -- and this involves
   5       the shooting of Djuan Page in July of 2014, July 14th --
   6       this is what the conversation allegedly is about.             After
   7       the July 14th shooting, 2014, near the Lawton parole
   8       address, according to Mr. Kennedy, he has a conversation
   9       with Arnold, and in that conversation with Arnold, Arnold
  10       says, I did the shooting.       I did it alone.      Nobody else
  11       was with me.     I used my own gun, and it was a
  12       10-millimeter.     That's what he tells Kennedy, and I
  13       believe -- although may be mistaken -- that ultimately the
  14       government retrieves a slug from one of twins Michael who
  15       was in the car too, and that slug is consistent with a .40
  16       caliber 10-millimeter weapon.       So that's all Kennedy
  17       knows.    And Derrick Kennedy and Arnold are like this.
  18       They are very close.      Derrick Kennedy talked about being
  19       at the mall, the confrontation with the twins and the
  20       Hustle Boys, how he stuck with him.           They are really
  21       tight.
  22                 Now we go all the way to December, five or six
  23       months later, and Derrick Kennedy claims that he has a
  24       conversation with Michael Rogers.        So that's why I brought
  25       up Michael Rogers who was acquitted, and he claims that in


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18536   Page 44 of
                                      77
                                                                           44



   1       this later conversation with Michael Rogers, the subject
   2       of why the police and the FBI were looking at Corey Bailey
   3       about the July shooting, and Kennedy says, I don't
   4       understand it.     Arnold told me he was the only one
   5       involved.    Why were they looking at Sonny, and allegedly
   6       Michael Rogers says something to the effect, the dumb ass
   7       was leaning out the window and waving a flag, and that's
   8       what we're trying to keep out because it is not a
   9       statement in furtherance of the conspiracy.
  10                 And the two cases, one of which you often refer to
  11       in the prior trial, Worman, and the other case Mitchell,
  12       is what Michael Rogers is doing, assuming that it's true
  13       for the purposes of this argument, he is merely informing
  14       Mr. Kennedy about a past event.        He's not furthering the
  15       conspiracy in any way, shape or form.         This is a
  16       conversation just between two people who I say are not
  17       members of the Seven Mile Bloods, and they are trying to
  18       clarify what had happened, and there's really nothing in
  19       that conversation that could promote the objectives of the
  20       conspiracy.
  21                 So the government faced with that, again theorizes
  22       that the importance of that conversation was that
  23       Mr. Kennedy was now on notice that the people involved in
  24       the shooting was not just Mr. Arnold, but Mr. Bailey, and
  25       they theorize that the significance of this in terms of


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18537   Page 45 of
                                      77
                                                                           45



   1       the objective of the conspiracy was that Mr. Kennedy was
   2       now on notice that Mr. Bailey was also involved, and
   3       therefore, Kennedy needs to stay away from Bailey because
   4       of the retaliation and the conflict between the two
   5       parties that he could be the subject of a shooting.
   6       That's their theory about how it further the conspiracy.
   7                 But the problem with that is that it is not case
   8       specific.    Why?   Because Kennedy was already on the hit
   9       list for the Hustle Boys.       He was already a target.       It
  10       didn't matter who he associated with, whether it was
  11       Arnold, Bailey or Scooby-Doo.       It doesn't matter.       He's
  12       already on the hit list, number one.
  13                 Number two, because of his close relationship with
  14       Bailey, and the Hustle Boys knew that because they
  15       confronted Arnold and Kennedy together on multiple
  16       occasions, he was already a target by his relationship
  17       with Bailey, and because the brothers, the twins, had
  18       allegedly said that Arnold was involved in the shooting.
  19                 So this whole theory about, oh my God.         Now he's
  20       going to be a victim of a shooting in retaliation, is not
  21       an accurate representation of the specific facts.            So it
  22       is a fishing theory unsupported by the evidence, Judge,
  23       and we would ask that you exclude that.
  24                   I don't think there's anything else that Mr.
  25       Kennedy has ever said in a proffer or trial other than


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18538   Page 46 of
                                      77
                                                                            46



   1       what I said, the government knows about it.           Let them say
   2       it, but I haven't seen it.       So we're trying to keep that
   3       out.
   4                   The other thing has to do with Ms. Scott, and as
   5       you recall, Ms. Scott testified about an incident sometime
   6       in July of 2014.     Again, this is according to government's
   7       theory somewhat related to shooting on the 14th.
   8                   According to Ms. Scott, she was in a vehicle
   9       with Mr. McClure, and they are driving over to the Erotic
  10       City, a bar, and at this bar allegedly our Hustle Boys,
  11       including the twins, and on the way over, according to Ms.
  12       Scott, Mr. McClure, who is dead, says we are going to
  13       start something.     A rather vague statement.        There's no
  14       weapons in the car.      It's not clear from her testimony
  15       that, in fact, Mr. Bailey is present in the car.              They
  16       pick him up.
  17                   So what we have is, we have Ms. Scott in her
  18       first debriefing on September 20, 2016, never mentioning
  19       this, I'm going to start something.           That's the first
  20       debriefing.
  21                   The second debriefing is December 9, 2016.
  22       Again, she says nothing about McClure saying something is
  23       going to get started, and then there's her trial testimony
  24       from the last trial which she makes this statement.
  25                   So in response to trying to keep this out


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18539   Page 47 of
                                      77
                                                                            47



   1       because it's not in furtherance of the conspiracy, the
   2       government's response is that it's a verbal act, and it's
   3       not offered for the truth, which is, again, has some sex
   4       appeal to it, but the problem is if you admit it for that
   5       reason, we're going ask that you turn and tell the jury
   6       with an instruction that that statement is not being offer
   7       for the truth, right?      Tell them right now that the
   8       government is saying something, but they're not claiming
   9       it's true.    It's just going to show what was said, and let
  10       the jury try to figure that out and understand it.
  11                   So when they start by saying that it's not being
  12       offered for the truth, then they switch gears later on and
  13       they say look what happened.       He said something was going
  14       to happen and something did happen.           So in essence, they
  15       really want the jury to accept it for the truth of the
  16       matter asserted, that is, that something was going to
  17       start.
  18                   So then according to Ms. Scott, the two
  19       individuals, meaning Mr. Bailey and Mr. McClure, they go
  20       into the Erotic Club.      They are gone for 10 minutes.          Come
  21       back.    Mr. McClure is bleeding from the head, pounds on
  22       the window, and allegedly says Neff hit me with a bottle,
  23       and we're seeking to exclude that too.           The government
  24       says it's an excited utterance.        It isn't at this point.
  25       They may be able to, they may not be able to lay a


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18540    Page 48 of
                                      77
                                                                               48



   1       foundation, but at this point the record doesn't support
   2       that.
   3                   But really in the end, there are some other
   4       things that you need to consider in context of this motion
   5       about what was happening at the time, and whether or not
   6       they were going to go there to start something.               She
   7       testified there was a flier about this party, and the
   8       people that were invited were Mr. McClure and Mr. Bailey.
   9                   So in the context of this information that the
  10       government wants to seek in introduce in their case in
  11       chief, Judge, we would say they don't have the proper
  12       foundation.    It's not in furtherance of the conspiracy,
  13       and we would ask that you exclude it.          Thank you.
  14                      THE COURT:    All right.       Thank you.
  15                 Mr. Sloan?
  16                      MR. SLOAN:    Thank you, your Honor.
  17                 Your Honor, picking up on Mr. Daly's last point, I
  18       think it's a perfect example of why ruling now pretrial is
  19       simply not possible.      What the defense does in their
  20       motion is assume that the trial transcript from a previous
  21       trial with different defendants is somehow set in stone,
  22       and the witnesses are going to say the exact same thing
  23       and create the exact same foundation.
  24                 As your Honor knows, that's just not the case.
  25       What matters is the evidence will come in fresh in a new


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18541   Page 49 of
                                      77
                                                                           49



   1       trial with these defendants, and the witnesses will
   2       testify to what they will testify to.         They may testify in
   3       a slightly different way, or articulate different details,
   4       and that's for obvious reasons.
   5                 Number one, there are different defendants on
   6       trial.    So they may be asked different questions more key
   7       to those defendants.      That may produce different
   8       information.     Different attorneys will ask the questions
   9       in a different way, and witnesses, you know, may say
  10       things a little bit differently if asked a question
  11       differently or they remember it better this time.
  12                 So I think as a starting point we can't just
  13       assume this prior trial transcript, which defense counsel
  14       has used to make the factual basis for his motion, is
  15       controlling, and that's why the government starts with the
  16       initial point, which is that essentially the Court has
  17       already ruled how it wants to handle proffers about out of
  18       court statements, and that was Court's order, docket entry
  19       828, which is a day prior notice by the government of
  20       anticipated out of court statements, and then the Court
  21       will conditionally admit those subject to the government
  22       proving the three elements required for a co-conspirator's
  23       statement in furtherance by a preponderance of evidence.
  24                 So just as a starting matter, the government
  25       recommends that the Court stick to that plan precisely


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18542   Page 50 of
                                      77
                                                                           50



   1       because the evidence will be coming in in a new way.
   2                 Just as one example of that, your Honor, it's hard
   3       to make these determinations whether it's 801(d)(2)(E) or
   4       some other hearsay exception or exclusion in advance of
   5       trial, because the evidence might be developed slightly
   6       differently.
   7                 For example, Mr. McClure statements to Ms. Scott
   8       and or Mr. Bailey regarding the July 2014 trip to a rival
   9       Hustle Boy gang party where Mr. McClure said he was going
  10       to start something, comes back to the car a few minutes
  11       later bleeding with Mr. Bailey, and says Neff hit him in
  12       the head with a liquor bottle.
  13                 Now one of the -- that statement that Neff hit him
  14       in the head with a liquor bottle was repeated several
  15       times by Mr. McClure as Ms. Scott testified to her when he
  16       and Bailey came back from the club initially, again to
  17       Billy Arnold sometime shortly thereafter, and then later
  18       to other SMB members, Jig and Nice, at a house, and one
  19       thing that was not developed in Ms. Scott's testimony was
  20       what, if any, initial reaction did Billy Arnold have when
  21       Mr. McClure said that rival gang member just hit me in the
  22       head with a liquor bottle.       We just don't know the answer
  23       to that question.
  24                 So to categorically exclude something before trial
  25       makes no sense in the circumstances because we don't know


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18543   Page 51 of
                                      77
                                                                           51



   1       what the exact foundation will be.
   2                 Now turning to 801(d)(2)(E) specifically your
   3       Honor, which is really the heart of the defendant's motion
   4       here, and I would say as a side, your Honor, I apologize
   5       for the lengthy brief, but the government did that just as
   6       a preview of ways that this could come in, and the reason
   7       the government set out alternative explanations is for the
   8       reason that I just articulated.        We just don't know what
   9       the witness might say at the time, but I will say to the
  10       Court that most, if not all of these, the government
  11       believes will be admissible for their truth under
  12       801(d)(2)(E).
  13                 And before I turn to the specific statements in a
  14       little more detail, I just want to point out some
  15       parameters of the law that I think were a little bit
  16       muddied in Mr. Daly's motion.       The three elements that the
  17       government has to show by a preponderance and the finding
  18       that the Court has to make is number one, a conspiracy
  19       existed, number two, that the defendant against the
  20       statement was offered, in this case Mr. Bailey, was a
  21       member of that conspiracy, and number three, that the
  22       co-conspirator declarant made the statement during and in
  23       furtherance of the conspiracy.
  24                 I think the motion really focuses on prong three,
  25       but I just want to clarify number one, as to the speaker


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18544   Page 52 of
                                      77
                                                                           52



   1       or declarant, just to reiterate, Mr. Daly conceded I
   2       think.    The fact that Michael Rogers was acquitted does
   3       not bar him from being a co-conspirator for purposes of
   4       801(d)(2)(E) analysis.      The jury acquittal simply means
   5       the jury didn't find that he was guilty of RICO conspiracy
   6       beyond a reasonable doubt, which, of course, is a higher
   7       standard than mere preponderance.        And we would point to a
   8       Sixth Circuit case that specifically states this, and
   9       that's United States versus Todd, T-o-d-d, 920 F.2d 399.
  10                 And then point number two, the listener need not
  11       be a co-conspirator.      The language that Mr. Daly used in
  12       his brief was these statements should not come in because
  13       they are not, quote-unquote, among co-conspirators, but
  14       that's not what the rule requires.        The rule requires that
  15       the defendant against whom it's offer be a co-conspirator
  16       and the declarant be a co-conspirator, and we have that
  17       here.    Mr. Bailey -- the government anticipates the trial
  18       evidence will show that Mr. Bailey, Mr. McClure and Mr.
  19       Rogers were all part of a racketeering conspiracy.
  20                 Mr. Daly claimed that Mr. Kennedy testified that
  21       he was not SMB.     Your Honor, I beg to differ with that
  22       characterization.     In fact, in the first trial he
  23       testified he that he was 5-5, which is in some sense
  24       synonymous with or a certain subgroup of SMB.          He even
  25       testified that he had a 5-5 tattoo on his body, as does


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18545   Page 53 of
                                      77
                                                                           53



   1       Mr. Rogers.    So the government anticipates that trial
   2       evidence will show that Mr. Kennedy was, in fact, a
   3       co-conspirator and Mr. Rogers was a co-conspirator.
   4                 Now turning to first set of statements by Michael
   5       Rogers to Derrick Kennedy regarding the July 14th shooting
   6       of Djuan Page, Neff, and the substance of that statement
   7       as Mr. Daly stated was that Mr. Kennedy didn't know until
   8       Mr. Rogers told him that Mr. Bailey was in the car with
   9       Billy Arnold during the shooting.        And the defense
  10       argument essentially is that this couldn't be in
  11       furtherance because it is months --
  12                      THE COURT:    After the fact.
  13                      MR. SLOAN:    -- after the fact --
  14                      THE COURT:    Right.
  15                      MR. SLOAN:    -- and therefore, how could this
  16       possibly further a conspiracy, and the government's
  17       response, your Honor, is that the case law I think --
  18       well, start with the case law.
  19                 Statements that serve to identify co-conspirators
  20       and their roles in the conspiracy are in furtherance, as
  21       well as statements that update or apprise a co-conspirator
  22       of the status of the conspiracy, and in this case the
  23       conspiracy, part of what's alleged, is of this
  24       racketeering enterprise.       This gang was an ongoing gang
  25       war with rivals, and part of the pattern of their


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18546   Page 54 of
                                      77
                                                                           54



   1       racketeering activity was to protect their image and
   2       reputation through violence and force through controlling
   3       territory in the Red Zone.
   4                 And so in the midst of an ongoing shooting gang
   5       war, the government submits that being informed one of
   6       your co-conspirators was involved in a particular shooting
   7       is precisely an update on the status of the conspiracy.
   8                 The second point, your Honor, is, you know, I
   9       think context matters here.       It's true the statement was
  10       made a few months after the shooting, but as the
  11       government pointed out in its brief, in the intervening
  12       time -- and in fact right before the statement was made
  13       around Christmas time of 2014 -- two other SMB members had
  14       recently been shot.
  15                 So it just goes to show that this was an ongoing
  16       shooting war, and in fact, the government would submit
  17       that the July shooting of Neff kicked off the shooting
  18       war.   And so to be informed of an update of the conspiracy
  19       in December was just as relevant then as it would be in
  20       July of 2014.
  21                 Why?   So that a co-conspirator would take actions
  22       to go stay alive and or take vengeance on rival gang
  23       members.    It's certainly relevant to know that one of your
  24       fellow gang members did something you thought other one
  25       did, so that if you're walking down the street with


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18547   Page 55 of
                                      77
                                                                           55



   1       Mr. Bailey, you might be more likely to be shot than with
   2       another member.
   3                 And your Honor, I think what's lost in Mr. Daly's
   4       motion is the three elements of 801(d)(2)(E) are by
   5       preponderance.     That's more likely than not.       The
   6       government does not have to prove 100 percent or beyond a
   7       reasonable doubt that the statement did further, or it was
   8       only intended to communicate this to this co-conspirator.
   9       In fact, the case law is pretty clear that statements that
  10       can be interpreted with different meanings or that were
  11       made not even primarily to further the conspiracy can be
  12       in furtherance.     The preponderance standard is not an
  13       incredibly a high bar for this third prong.
  14                 And the last point on the Michael Rogers
  15       statements, your Honor, in terms of timing it, I think a
  16       good case in point factually would be the Odum case,
  17       O-d-u-m, 878 F.3d 5O8, which we did cite in our brief,
  18       and, you know, admittedly, the time span is a bit short in
  19       this case.    The statements were made shortly after the
  20       shooting, but I think the purpose comes across here.
  21                 In that case this was a motorcycle gang vicar
  22       trial I believe before Judge Borman initially, and on
  23       appeal the defendants contested admission of certain
  24       statements that the shooters came back to the motorcycle
  25       clubhouse shortly after the shooting, and updated the club


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18548   Page 56 of
                                      77
                                                                           56



   1       leadership on the shooting they just done.          And what the
   2       Sixth Circuit said was, you know, even though it happened
   3       after the fact, it's a statement of a past event, this was
   4       in furtherance because the statements were updating the
   5       leadership to that they could take steps to avert
   6       retaliation from the rival gang who was a victim of the
   7       shooting.
   8                 It's a very similar purpose here.        Mr. Rogers is
   9       updating Mr. Kennedy on what a co-conspirator has done so
  10       he can take steps to anticipate a response from the rival
  11       gang.
  12                 And turning briefly to the next set of statements
  13       which were made by Mr. McClure to -- some combination of
  14       Ms. Scott and Mr. Bailey and then Mr. Arnold, Jig and Nice
  15       subsequently.     As the government laid we think those are
  16       admissible for a number of reasons, but to include
  17       801(d)(2)(E).
  18                 And as to Ms. Scott, I would like to emphasize
  19       something that we didn't necessarily emphasize in the
  20       brief, which is, that we think these are 801(d)(2)(E) as
  21       to her as well, both the statement that Mr. McClure is
  22       going to start something in the club, as well as the
  23       subsequent statement that Neff hit him in the head with
  24       the bottle, and the reason is this, your Honor, the law
  25       does not require that the -- number one, that the


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18549   Page 57 of
                                      77
                                                                           57



   1       listener, Ms. Scott, be a co-conspirator at all.             It only
   2       requires that the listener be prompted to take some action
   3       to facilitate the conspiracy, and that's exactly what
   4       happened here.
   5                 Ms. Scott drives -- her boyfriend Mr. McClure
   6       tells Ms. Scott, I'm going to start something at a rival
   7       gang party.    What is her response?      She drives him and
   8       Mr. Bailey to that party, waits for him.          When he comes
   9       back, Mr. McClure informs her that he was hit in the head
  10       by a rival gang member.      What does she do?      She drives Mr.
  11       McClure, Mr. Bailey to talk to Billy Arnold, and then
  12       drives Mr. McClure to talk to Jig and Nice so they can
  13       communicate what this rival gang did to disrespect and
  14       assault Mr. McClure.
  15                 So in that sense, Ms. Scott is acting upon
  16       statements by Mr. McClure to take actions to facilitate
  17       further action by the gang.       So we submit that Ms. Scott,
  18       the statements to her, also fall within the co-conspirator
  19       exception here.
  20                 And your Honor, I don't want to belabor the other
  21       arguments that we made in the notice brief unless the
  22       Court has any question.
  23                      THE COURT:    I'm good.    Thanks.
  24                 So the -- with respect to the evidence that has
  25       just been reviewed, I have not really heard anything that


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18550   Page 58 of
                                      77
                                                                           58



   1       would lead the Court to conclude that the protocol we
   2       employed during the first trial is not appropriate, and
   3       that the evidence should be excluded without considering
   4       the state of the evidence to the date of the statement in
   5       dispute as a co-conspirator statement pursuant to 8O1
   6       (d)(2)(E), and the analysis that is dictated.
   7                 I think the parties agree on the analysis that
   8       needs to be employed.      The process of notifying opposing
   9       counsel of their intention to introduce evidence pursuant
  10       to 801(d)(2)(E) by the day before the continuation of
  11       trial I think is appropriate as the protocol was
  12       established originally, and it worked well.          It think it
  13       gave the both sides the opportunity to consider whether
  14       the statement is idle chitchat about past events, or an
  15       update on the status of the ongoing conflict between rival
  16       gangs and the risks that individual defendants are members
  17       or participants in an enterprise committed.
  18                 So the Court is going to I think refrain from
  19       making a declaration at this juncture with respect to the
  20       admissibility of the evidence because it can, indeed, be
  21       affected by the other evidence in the case up to the time
  22       of the claims statement.
  23                 So the Court will deny the motion in limine, so
  24       that the analysis can be undertaken, if there is a
  25       conflict between the parties with respect to admissibility


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18551   Page 59 of
                                      77
                                                                            59



   1       of the same evidence at the time it's intended to be
   2       introduced by the government.
   3                 It also pairs up with Rule of Evidence 104(b),
   4       which permits the Court to proceed to make conditional
   5       admissions based on what request other evidence is
   6       anticipated, and I think there was a fair amount of
   7       testimony at the first trial that was introduced and was
   8       conditionally admitted, and I think by the end of the
   9       evidence phase there were no conflicts over the
  10       admissibility of those statements that were conditionally
  11       admitted under 104(b).
  12                 So I think the process worked successfully and
  13       efficiently in the first trial, and should again in this
  14       trial.
  15                 Why don't we take a five minute break.
  16
  17                               (Recess taken.)
  18
  19                           (Proceedings resumed.)
  20
  21                      THE COURT:    All right.       So again, we're going
  22       to employ the protocol that was employed in the first
  23       trial.
  24                 And next on my list is just a scheduling question.
  25       One, we're going to begin with the preliminary


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18552   Page 60 of
                                      77
                                                                           60



   1       instructions from the Court which will be relatively brief
   2       except for a summary of the elements of the various claims
   3       that are agreed upon here.       They have a proposal that was
   4       I think generated initially by the government, and then
   5       tweaked by the defense.      So is there any remaining
   6       conflicts to be resolved as it relates to the elements of
   7       the charges?
   8                      MR. WECHSLER:     Justin Wechsler for the
   9       government.
  10                 The only issue we had after Mr. Spielfogel sent it
  11       to the government was -- I apologize.         I don't have it in
  12       front of me -- the line about it's not illegal to be a
  13       member of the Seven Mile Bloods, or it's not a crime to be
  14       a member of the Seven Mile Bloods.        We're okay with that
  15       statement generally, but we prefer say it's not illegal to
  16       be a member of an enterprise, because those definitions
  17       that appear right before that talk about what an
  18       enterprise is over and over again, and all of a sudden
  19       we're saying the proposal it's not illegal to be a member
  20       of the Seven Mile Bloods.       As long as we make it it's not
  21       illegal to be a member of an enterprise, we're okay with
  22       the suggestions that Mr. Spielfogel put forward.
  23                      THE COURT:    Okay.    That was put forward by
  24       Mr. Spielfogel and who?
  25                      MR. WECHSLER:     I believe it came from Mr.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18553   Page 61 of
                                      77
                                                                           61



   1       Spielfogel.
   2                      MR. MAGIDSON:     I also supplemented something.
   3                      THE COURT:    Okay.    What was your supplement?
   4       I know I just entertained a request --
   5                      THE CLERK:    I have it.
   6                      MR. MAGIDSON:     I'm glad somebody has it.
   7                      THE COURT:    As proposed by the defense, as it
   8       relates to what Mr. Wechsler just addressed, the proposed
   9       language is it is not illegal in and of itself to be a
  10       member or associate of the Seven Mile Bloods, and that was
  11       proffered by who, defendants collectively?
  12                      MR. DALY:    I think by Mr. Spielfogel.        There
  13       was no objection from the other lawyers.          So I would say
  14       by silence, that they agree.
  15                      MR. MAGIDSON:     If I may, I was just handed by
  16       one of my colleagues here something that I did tender.               I
  17       thought I was tendering it to the Court, but apparently it
  18       never made it.
  19                      THE COURT:    Okay.
  20                      MR. MAGIDSON:     When I do things on my own,
  21       that's what happens.      I cited a case, United States versus
  22       Turkette, a Supreme Court case, 452 U.S. 576.          In there
  23       they had language as follows:        While the proof used to
  24       establish the separate elements may in a particular case
  25       coalesce, proof of one does not necessarily establish the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18554   Page 62 of
                                      77
                                                                           62



   1       other.    The, quote, enterprise, end of the quote, is not
   2       the pattern of racketeering activity.         It is an entity
   3       separate and apart from the pattern of activity in which
   4       it engages.    The existence of an enterprise is a separate
   5       element which must be proved by the government.
   6                 That was part -- because the government had
   7       included in addition to the actual elements, there's some
   8       commentary that was included, and I thought as long as
   9       we're going to be doing that, then we should balance this
  10       as well.    And so I thought this would be important just to
  11       tell the jury that there's different -- that there's a
  12       distinction that has to be made all times, and that an
  13       enterprise is not to same as a pattern of racketeering
  14       activity, and that it has to be proven separately.            This
  15       is an general instruction.
  16                      THE COURT:    So following the five elements of
  17       the RICO conspiracy charge in Count 1, we have a
  18       paragraph, and the paragraph describes what an enterprise
  19       is.
  20                      MR. MAGIDSON:     Right.   If I may, Judge, I can
  21       tender this to the Court for your edification.
  22                      MR. WECHSLER:     Can we see a copy?      This is
  23       first chance that we heard about this.
  24                 I think when the Court lays out the five elements,
  25       you know, first this, second this, it's going to be clear


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18555   Page 63 of
                                      77
                                                                            63



   1       to them, the jurors, that there are five distinct
   2       elements, and I don't necessarily have a huge problem with
   3       the Court saying these are distinct, and each have to be
   4       proved, but it seems that this statement that Mr. Magidson
   5       just gave to us, it's going too far into almost a final
   6       jury instruction, and in some ways an argument from the
   7       defense attorneys of what does and does not need to be
   8       proven.    I just think the jurors, this early on, will
   9       benefit from more of a succinct instruction than --
  10                      THE COURT:    That ship has sailed I think.
  11                      MR. WECHSLER:     Well, in fairness yes, you
  12       know, one of the alternatives would just be the elements
  13       solely.    We tried to limit the definitions we wanted to
  14       use because we think that everyone on that panel for both
  15       the prosecution and the defense will wonder what an
  16       enterprise is, and I think it's enough to say it's not
  17       illegal in and of itself to be a member of an enterprise.
  18       I think with those five elements, the jury will be able to
  19       put together what it is they need to be thinking about as
  20       the trial progresses.      It think this in some way has
  21       become almost too legalistic.
  22                      THE COURT:    Yeah, I was not processing it
  23       very well during --
  24                      MR. WECHSLER:     I'll hand it to the Court.
  25                      THE COURT:    All right.       I'll consider the


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18556   Page 64 of
                                      77
                                                                             64



   1       addition sought here and incorporate it if I feel
   2       incorporating any of it in the proposed discussion of the
   3       elements is called for.
   4                 So at the last trial we didn't have any time
   5       limits, and I think that defense counsel must have had --
   6       must have conferred to parse out the discussion from
   7       defense counsel to defense counsel, so that we had the
   8       government consuming 40 minutes, we had Mr. Rataj
   9       consuming 20, Mr. Mullkoff consuming 25, Mr. Arnone 10 and
  10       Mr. Machasic five, and so it was quite manageable.            I
  11       don't know if you have an idea of how long your opening
  12       statements are likely to require.        The government first,
  13       Mr. Wechsler?
  14                      MR. WECHSLER:     I will be doing the opening.
  15       Sometimes I speak fast.      Sometimes I speak slowly, as I'm
  16       sure you're aware.      I think realistically 45 minutes will
  17       be the max.    It may go a little over that.        I haven't
  18       timed myself, but I don't foresee myself going much longer
  19       than that at all.
  20                      THE COURT:    Okay.    Among defense counsel, Mr.
  21       Magidson?
  22                      MR. MAGIDSON:     John Theis will be doing the
  23       opening.    I've talked with him.      He's not long winded.           He
  24       will be talking about the salient points, and I would be
  25       surprised if he goes over 20 minutes.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18557   Page 65 of
                                      77
                                                                            65



   1                      THE COURT:    Okay.
   2                      MR. DALY:    Judge, on behalf of Mr. Bailey,
   3       Mr. Spielfogel will be making the opening statement.              I
   4       have not talked to him about his specific time frame.              He
   5       has not indicated what that might be.          I guess that's as
   6       much information as I can give you at this point.
   7                      THE COURT:    All right.       Yes, Mr. Feinberg?
   8                      MR. FEINBERG:     I suspect no more than 30
   9       minutes, but I have a problem that I would like to address
  10       the Court as to my giving an opening statement as it
  11       relates to information that I was given late yesterday by
  12       Eric Straus that may cause a problem with my proceeding
  13       Monday with opening statement.
  14                      THE COURT:    I see.    Of course you can always
  15       reserve.
  16                      MR. FEINBERG:     Well, I don't want to do that.
  17       Do you want me to present to the Court the issue that I'm
  18       now confronted with?
  19                      THE COURT:    Well, yes and no.       Let me hear
  20       from Mr. Scharg and Mr. Scharg.
  21                      MR. S. SCHARG:     Good morning, your Honor.
  22       Steven Scharg on behalf of Mr. Porter.
  23                 Your Honor, I think we will be no longer than 20
  24       minutes.
  25                      THE COURT:    All right.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18558   Page 66 of
                                      77
                                                                            66



   1                      MR. H. SCHARG:     In Wayne County Circuit
   2       Court, they refer to us as the evil Scharg and good
   3       Scharg, and I'm embarrassed to tell you which one I am.
   4                 In regards to the opening statement, for the first
   5       time 40 years, I intend to reserve.
   6                      THE COURT:    I see.    Okay.     All right.
   7                      MR. H. SCHARG:     We don't have -- Mr. Johnson
   8       is not here.     So --
   9                      THE COURT:    Right.    I just want to make sure
  10       it was likely that we will finish openings on the first
  11       day of trial, and it certainly appears likely that we
  12       will.   I'm not imposing time limits.
  13                      MR. WECHSLER:     With that said, your Honor, is
  14       it fair to say the government should be ready to bring
  15       witnesses in for Tuesday morning, and use the first day
  16       more for whatever business the Court has with the jurors
  17       as well as openings?
  18                      THE COURT:    Well, I think we found that if
  19       you have one or two witnesses standing by, if concludes --
  20       if the opening statements conclude by noon, I would hate
  21       to lose that last hour.
  22                      MR. WECHSLER:     Fair enough.
  23                      MR. H. SCHARG:     I can give an opening
  24       statement if you want me to fill the time up.
  25                      THE COURT:    No, no.    Definitely not.       Okay.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18559   Page 67 of
                                      77
                                                                           67



   1       I'll come back to Mr. Feinberg in just a moment.
   2                 The Court would like to encourage counsel to
   3       consider stipulations with respect to much of the medical
   4       evidence that we spent a lot of time admitting through,
   5       you know, the doctors who were in the ER, and really
   6       contributing nothing more than the notes that were
   7       introduced as records of treatment, and really I thought
   8       that it would be much more efficient to seek to stipulate
   9       at least to the introduction of the medical records, and
  10       forego the testimony of the treaters, but --
  11                      MR. WECHSLER:     The government will speak with
  12       defense attorneys.      We're prepare to stipulate to the
  13       doctors that come in for some of the nonfatal shootings,
  14       but for the medical examiners, we would like bring in
  15       those witnesses.
  16                      THE COURT:    Okay.    That makes sense.
  17                      MR. WECHSLER:     Obviously, we will have a
  18       conversation with defense attorneys about this as well.
  19                      THE COURT:    Right.    Right.    And so we've got
  20       conference rooms that are going to be down on the first
  21       floor that are going to be reserved.          One will be reserved
  22       for defense counsel, which is near Judge Berg's chambers,
  23       and then the government witnesses will be, as they report,
  24       directed to a room that is next to Judge Tarnow's chambers
  25       so you can keep track of them and will be immediately


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18560    Page 68 of
                                      77
                                                                              68



   1       available.
   2                 So that's all I have on my list.
   3                 Mr. Feinberg, you wanted to address that issue?
   4                      MR. FEINBERG:     Yes, your Honor.      Late
   5       yesterday, early evening, I got a phone call from AUSA
   6       Eric Straus telling me that there is new witness that they
   7       have just found that is allegedly going to testify that
   8       Mr. Brown committed the murder.        I have no report.          I have
   9       no -- I believe that there was a photo display.               I mean,
  10       this is 12 years ago that the murder took place.              I
  11       suspect that I'm going to need to file a motion to have a
  12       evidentiary hearing as to the photo spread, how it was
  13       conducted.
  14                 Again, I don't have any of the information.             Even
  15       if I got it today, I doubt whether or not I would be able
  16       to follow it before tomorrow or Monday.           I can't give an
  17       opening statement if I don't know what the evidence is
  18       going to be involving the shooting.           I know what is --
  19       what I have, but this is brand new.
  20                 So I'm letting the Court know that there's a
  21       possibility that I will not be prepared to even give an
  22       opening statement or proceed Monday morning without being
  23       able to get the information and file whatever motions are
  24       necessary, and the Court conduct an evidentiary hearing.
  25                      THE COURT:    All right.       Mr. Wechsler?


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18561   Page 69 of
                                      77
                                                                           69



   1                      MR. WECHSLER:     Your Honor, yesterday agents
   2       did speak with a witness who -- well, he's listed in the
   3       police report from the 20O6 homicide, but did not give a
   4       very detailed statement to the police at that time.            The
   5       agents went back and talked to him yesterday, which Mr.
   6       Feinberg is correct.      He picked out Mr. Brown in a photo
   7       array.
   8                 We informed the agents that they needed to have
   9       the report done as soon as possible to get it to Mr.
  10       Feinberg.    As he's indicated, Mr. Straus from our office
  11       give him this information yesterday.          We are planning to
  12       have the 3O2 done today.       We will reiterate to the agents
  13       again that they need to get it done as soon as possible
  14       for Mr. Feinberg to review.
  15                 Additionally, we don't plan on presenting evidence
  16       of this homicide until I believe at least week two, which
  17       gives him an extra week to file any motions that he would
  18       like, and any litigation that needs to take place can
  19       happen after the 1:00 break.
  20                      THE COURT:    Would your opening statement be
  21       addressing any of this?
  22                      MR. WECHSLER:     The only thing that I plan to
  23       say is that we have witnesses who will testify about that
  24       homicide.    I don't plan on saying anything about this
  25       particular witness.      I'll leave it very vague.       We do have


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18562   Page 70 of
                                      77
                                                                           70



   1       another witness in which he was -- Mr. Feinberg was given
   2       notice awhile ago that he would testify about this, and so
   3       I believe when I say that we have witnesses that will
   4       testify about this, that will cover that witness.            I don't
   5       need to specifically say that we have John Smith who said
   6       that he saw Mr. Brown on the day in question.          I don't
   7       need to list those individuals which would give Mr.
   8       Feinberg a chance to rebut that in his motions.
   9                      THE COURT:    Right.    All right.
  10                      MR. FEINBERG:     May I respond?
  11                      THE COURT:    Sure.
  12                      MR. FEINBERG:     The 3O2 is not sufficient for
  13       me to know what is -- what I need to do.          I need to get
  14       all of the information that led up to the 3O2 that was, I
  15       guess, prepared yesterday.
  16                 In addition, if there was any -- if there was a
  17       photo lineup, I need to get that, who conducted it, how it
  18       was done, whether or not there was a defense attorney
  19       present during the photo lineup, how it was done, whether
  20       or not it was just a regular photo array or whether or not
  21       it was a blind photo array.
  22                      THE COURT:    Right.
  23                      MR. FEINBERG:     I cannot be prepared for the
  24       trial unless I know that, and just to get a statement is
  25       insufficient because I know that I'll have to file a


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18563   Page 71 of
                                      77
                                                                            71



   1       motion that will --
   2                      THE COURT:    We can conduct the hearing on a
   3       motion easily in the afternoon.        So I mean, I think the
   4       only question is in what manner would your opportunity to
   5       make an opening statement, which is just -- we know from
   6       the government's side they are not going to make any
   7       specific references to the evidence that it is going to be
   8       introduced relative to this 20O6 killing.
   9                      MR. FEINBERG:     I understand.      If they're
  10       going to indicate witnesses, plural, I need to know in my
  11       opening statement what we intend to show as it relates to
  12       the homicide, the witnesses, specific witnesses.              If I
  13       don't have that information, I don't know whether or not
  14       this Court is going to allow that witness to testify.                I
  15       don't know whether or not it's going to exclude them from
  16       presenting it.     If they allow it -- if there's going to be
  17       a cautionary instruction as a result of it, I don't know,
  18       but I can tell you right now that I'm not prepared Monday
  19       to proceed without knowing evidence that is very, very
  20       crucial to the most serious of all counts that Mr. Brown
  21       is being charged with.
  22                      THE COURT:    All right.       Well, I'll certainly
  23       be in a position to consider it when you file your motion
  24       after you had an opportunity to review the papers that
  25       apparently are in preparation.


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18564   Page 72 of
                                      77
                                                                           72



   1                      MR. FEINBERG:     But again, it's more than just
   2       a 3O2.    That maybe what the government thinks all is
   3       necessary, but it's certainly not what I think is
   4       necessary to file the motion, and if I don't get
   5       everything, then there will be a motion to compel, which
   6       will prolong the necessity of me filing the motion
   7       relating to how it was conducted.
   8                 I'm putting the Court on notice that I may come in
   9       on Monday and indicate to the Court that I'm not ready to
  10       proceed.
  11                      THE COURT:    Well, okay.      I think you should
  12       be prepared for the possibility that the Court will agree
  13       there are other cures, and will call on you to make
  14       decision as to whether --
  15                      MR. FEINBERG:     I understand, but I do have a
  16       client that I'm representing to a certain extent takes
  17       precedence over whether or not the Court tells me that I
  18       have to proceed.
  19                      THE COURT:    Okay.
  20                      MR. FEINBERG:     I think Mr. Brown wants to
  21       raise his hand.
  22                      THE COURT:    Mr. Feinberg can talk to you for
  23       a moment.
  24                      DEFENDANT BROWN:      I want to speak to you.
  25                      THE COURT:    Well --


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18565   Page 73 of
                                      77
                                                                           73



   1                      MR. FEINBERG:     That's what he wants to do,
   2       your Honor.
   3                      DEFENDANT BROWN:      I want to go on with the
   4       trial.    I'm ready Monday.
   5                      THE COURT:    I know that's your feeling.
   6                      DEFENDANT BROWN:      I'm ready Monday, your
   7       Honor.    I'm ready.
   8                      THE COURT:    Okay.
   9                      DEFENDANT BROWN:      I will be my own defense
  10       attorney.    Like you told me before, if I fire him, then I
  11       have to represent myself, and I'm willing to do that if
  12       he's not ready because I'm ready.        If he not ready, I'm
  13       ready.
  14                      THE COURT:    Okay.
  15                      DEFENDANT BROWN:      Trial goes Monday.      I'm
  16       here.
  17                      THE COURT:    That's the plan.
  18                      DEFENDANT BROWN:      I'm ready.
  19                      THE COURT:    So Mr. Feinberg will be thinking
  20       about how he handles -- which is not an easy question, and
  21       it's concern that you get a fair trial, not just a trial.
  22                      DEFENDANT BROWN:      I'm not trying to get push
  23       back, your Honor.
  24                      THE COURT:    Okay.
  25                      MR. H. SCHARG:     Judge, one more thing.


                       15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18566   Page 74 of
                                      77
                                                                            74



   1                      THE COURT:    Yes.
   2                      MR. H. SCHARG:     Earlier on the severance
   3       motion, I asked for an instruction regarding separate
   4       defendants, same trial.
   5                      THE COURT:    Yes.
   6                      MR. H. SCHARG:     Will you give that in the
   7       preliminary instructions?
   8                      THE COURT:    Yes.
   9                      MR. H. SCHARG:     You didn't confirm or deny
  10       that.
  11                      THE COURT:    If I didn't, I intend to.         I will
  12       incorporate that.
  13                      MR. H. SCHARG:     Thank you.
  14                      THE COURT:    Okay what else, if anything?
  15                      MR. DALY:    There were two matters left on
  16       motions in limine that I won't -- will not argue one of
  17       them.   I think it as been resolved.          I was seeking to
  18       suppress prior convictions.       The judgment, it appears the
  19       government has agreed will not introduce in their case in
  20       chief, unless they feel it is necessary, at which point
  21       they will bring it to the Court's attention, and we can
  22       deal with it then.      That's essentially what we agreed to.
  23                      MS. FINOCCHIARO:      That's correct, your Honor.
  24                      THE COURT:    Okay.
  25                      MR. DALY:    So the last part has to do with


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18567   Page 75 of
                                      77
                                                                            75



   1       4O1 and 4O3 arguments, about the overt acts, and there
   2       were a number that were listed there.          I'm not going to
   3       argue each and every one.       It was 71, 72, 94, 95, 100 and
   4       1O3, and I believe the government agreed not to introduce
   5       evidence on 1O3.     So that's done.
   6                 I'm not going to go through all of those.           You've
   7       read the briefs, Judge.      I will rely on my briefs.         You
   8       can either rule on the record or a written order.             Thank
   9       you.
  10                      THE COURT:    Thank you.       Anything further from
  11       the government side?
  12                      MR. SLOAN:    No.
  13                      THE COURT:    103, you're in agreement?
  14                      MR. SLOAN:    That's right, your Honor.
  15                      THE COURT:    Mr. Daly, do you wish that I to
  16       this on the record.
  17                      MR. DALY:    No, I don't.
  18                      THE COURT:    All right.       And you're asking
  19       have a conference with the Court and government counsel,
  20       is that right?
  21                      MR. DALY:    Yes, and Mr. Spielfogel.          He's
  22       waiting for conference call.
  23                      THE COURT:    Okay.    Well, if nothing else,
  24       we'll break for day.
  25                      MR. H. SCHARG:      Should we stay around?


                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19    PageID.18568   Page 76 of
                                      77
                                                                            76



   1                      THE COURT:       Is it going to affect you, do you
   2       think?    Might it affect the others?
   3                      MR. DALY:    Depending on what you decide.
   4                      MR. H. SCHARG:         We'll stick around.
   5
   6                          (Proceedings concluded.)
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                      15-20652; USA v. EUGENE FISHER, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1413 filed 05/09/19   PageID.18569   Page 77 of
                                      77
                                                                           77



   1                         C E R T I F I C A T I O N
   2                  I, Ronald A. DiBartolomeo, official court
   3       reporter for the United States District Court, Eastern
   4       District of Michigan, Southern Division, appointed
   5       pursuant to the provisions of Title 28, United States
   6       Code, Section 753, do hereby certify that the foregoing is
   7       a correct transcript of the proceedings in the
   8       above-entitled cause on the date hereinbefore set forth.
   9                  I do further certify that the foregoing
  10       transcript has been prepared by me or under my direction.
  11
  12     s/Ronald A. DiBartolomeo                           ________________
         Ronald A. DiBartolomeo, CSR                             Date
  13     Official Court Reporter
  14                                   -   -    -
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                      15-20652; USA v. EUGENE FISHER, ET AL
